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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

              v.                                         Case No. 23-CR-00436

TOMVOURNAS


                      Defendant.

                                                 ORDER

       Pursuant to the motion filed by the United States, it is hereby ordered that the Motion to

Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.



       SO ORDERED this        'l,,l   1rday of    a:'.11.n-- , 2025.




                                                 HONORABLE ROYCE C. LAMBERTH
                                                 United States District Court Judge
